AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No. \' 20 mys
Residence, Outbuildings, and Appurtenances located at
10450 Alabaster Drive, Davidson, North Carolina, 28036

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

The premises located at 10450 Alabaster Drive, Davidson, North Carolina 28036, more particularly described in
Attachment A.
located in the _ Middle _ Districtof North Carolina , there is now concealed (identify the

person or describe the property to be seized):
Evidence of, instrumentalities used in committing, and fruits of the crimes of 18 U.S.C. §§ 2251, 2252A(a)(2)(A), and
2252A(a)(5)(B) all of which:are more particularly described in Attachment B.
The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed;
rh property designed for use, intended for use, or used in committing a crime;

71 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

ode Section Offense Description
18 U.S.C. §2251(a) Production of Child Pornography
18 U.S.C. §2252A(a) Distribution, Receipt, & Possession of Child Pornography

The application is based on these facts:

See attached Affidavit
a Continued on the attached sheet.

 

 

1 Delayed notice of days (give exact ending date if more than 30 days: __) is requested a
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet. iy q
/s go (M ans \> Ficaina
; / Applicant's signature

Marisa Brown, Special Agent
Printed name and title

 

ttested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
“Té : ae At & e-—Mar ( “eYspecify reliable electronic means).

 
   

Date: _ Miarb b 20 20 _

City and state: Greensboro, North Carolina L. Patrick Auld, United States Magistrate Judge

Printed name and title

udge 's stenature

 

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ATTACHMENT A

DESCRIPTION OF LOCATION TO BE SEARCHED

The property to be searched is 10450 Alabaster Drive, Davidson, NC
28036, further described as a double-story house, single family residence.
The residence is brick and stone sided with a covered porch. A black rod iron
fence encapsulates the back yard of the residence. A paved driveway located
on the right side of the residence leads to an attached, covered garage. A
mailbox with the numbers “10450” imprinted on the newspaper tube sits at

the base of the driveway at Alabaster Drive.

 

 

' Image taken from Google Maps

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The property to be searched includes a 2010 Toyota Corolla, license

plate number TPT6899.

The person to be searched is Joseph M. Schwehm, a white male whose
date of birth is September 15, 1990, and whose social security number is 226-

65-1896. His photograph is included below.

 

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ATTACHMENT B:

ITEMS TO BE SEIZED

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The following materials, which constitute evidence of the commission of
a criminal offense, contraband, the fruits of crime, or property designed or
intended for use or which is or has been used as the means of committing a
criminal offense, namely violations of Title 18, United States Code, Sections

2251(a), 2252A(a)(2)(A), 2252A(a)(5)(B), and 2422(b):

1. Computers or storage media that could be used as a means to commit
the violations described above.

2. For any computer or storage medium whose seizure is otherwise
authorized by this warrant, and any computer or storage medium that
contains or in.which is stored records or information that is otherwise
called for by this warrant (hereinafter, “COMPUTER’):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were created, edited, or’
deleted, such as logs, registry entries, configuration files, saved

usernames and passwords, documents, browsing history, user

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profiles, .email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

b. evidence of software that would allow others to control the
COMPUTER, such as viruses, Trojan horses, and other forms of
malicious software, as well as evidence of the presence or absence
of security software designed to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence of the attachment to the COMPUTER of other storage
devices or similar containers for electronic evidence; |

e. evidence of programs (and associated data) that are designed to
eliminate data from the COMPUTER;

f. passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER; |

x, documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the
COMPUTER;

h. records of or information about Internet Protocol addresses used

by the COMPUTER;

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i. records of or information about the COMPUTER’s Internet
activity, including firewall logs, caches, browser history and
cookies, “pookmarked” or “favorite” web pages, search terms that
the user entered into any Internet search engine, and records of
user-typed web addresses revealing an interest in child
exploitation content .

. Routers, modems, and network equipment used to connect computers to

the Internet.

. Child pornography, as defined in 18 U.S.C. 2256(8).!

. Child erotica.

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. The following clothing depicted in child pornography images received or

sent by Kik user bluedayguys: male child’s red shorts and shirt, male |

child’s stretch boxer shorts, and a solid gray fleece blanket.

. Records, information, and items relating to violations of the statutes

described above in the form of:

a. Records, information, and items referencing or revealing the
occupancy or ownership of 10450 Alabaster Drive, Davidson, NC
28086, including utility and telephone bills, mail envelopes, or

addressed correspondence;

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. Records and information referencing or revealing the use and user

of a Kik group titled “Open Minded Parents”:
Records and information referencing or revealing the use of the .
handles/pseudonyms bluedayguys, blueday, Blue. Day, or
variations thereof, in any online accounts or services;

Records and information revealing sexual activity with or sexual
interest in minors, to include conversation via the Internet
discussing the grooming of minors for sexual exploitation:

Records and information constituting or revealing membership or
participation in groups or services that provide or make accessible
child pornography;

Records and information revealing the use and identification of
remote computing services such as email accounts or cloud storage;
and . -

Records ‘and information referencing or revealing the sexual
exploitation of children and trafficking of child pornography,
including correspondence and communication between users of ~
any application, such as Kik Messenger, | concerning the

advertisement, distribution and production of child pornography.

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8. During the course of the séarch, photographs of the searched premises
may be taken to record the condition thereof and/or the location of items
therein. |
As used above, the terms “records” and “information” includes all forms

of creation or storage, including any form of computer or electronic storage
(such as hard disks or other media that can store data); any handmade form
(such as writing); any mechanical form (such as printing or typing); and any
photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

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The term “computer” includes all types of electronic, magnetic, optical,
_ electrochemical, or other high speed data processing devices performing
logical, arithmetic, or storage functions, including desktop computers,
notebook computers, mobile phones, tablets, server computers, and network

hardware.

The term “storage medium” includes any physical object upon which
computer data can be recorded, including external and internal hard drives,
flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming

systems, SIM cards, cellular phones capable of storage, floppy disks, compact.

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discs, magnetic tapes, memory.cards, memory chips, and other magnetic or

optical media.

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF THE SEARCH
OF:

THE RESIDENCE, OUTBUILDINGS,
APPURTENANCES, AND VEHICLES
LOCATED AT 10450 ALABASTER __| Case No. [ize nS FS
DRIVE, DAVIDSON, NC 28036, AND
THE PERSON OF JOSEPH
SCHWEHM

 

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A SEARCH
WARRANT

I, Marisa Brown, being first duly sworn, hereby depose and state as

follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Federal Bureau of Investigation
(FBI), and have been since May 2019. As such, I am a “federal law enforcement
officer” of the United States within the meaning of Rule 41 of the Federal Riles
of Criminal Procedure. I am currently assigned to the Charlotte Division,

Violent Crimes Against Children Program and am designated to work a variety

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of criminal matters, including child sexual exploitation, Internet crimes
against children, and human trafficking. |

2. My career in. law enforcement began as a Staff Operations
Specialist with the FBI where I was assigned to support the FBI’s mission to
combat violent crimes. I was involved in searches, seizures, arrests, and
intelligence gathering. I graduated from the FBI Academy as‘a Special Agenit
and have received basic and on-the-job training in the investigation of cases
involving the sexual exploitation of children. During my career as an FBI
Special Agent, I have participated in child pornography and human trafficking
investigations. I have participated in the investigation of cases involving thé
use of computers, cellular devices, and the Internet to commit violations of
federal child exploitation laws. I have received training and gained experience
in human trafficking and child exploitation investigations, interview and
interrogation techniques, arrest procedures, search warrant applications, the
execution of searches and seizures, and various other criminal laws: and

procedures relevant to the instant investigation. ‘I have participated in

operations targeting underage victims of sex crimes.

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3. Tam investigating the activities of the Kik username bluedayguys..
As will be shown below, there is probable cause to believe that someone using
the Kik account bluedayguys has produced child pornography, in violation of
18 U.S.C. §§ 2251(a), and has transported, received, possessed, and distributed
child pornography, in violation of 18 U.S.C. 18 U.S.C. §§ 2252A(a)(2)(A) and
(a)(5)(B). .I submit this Application and Affidavit in support of a- search
warrant authorizing a search of the property and residence 10450 Alabaster
Drive, Davidson, NC 28036, along with a 2010 Toyota Corolla, and the person
of Joseph M. Schwehm, as further described in Attachment A. Located within
the premises to be searched, I seek’ to seize ‘evidence, fruits, and
instrumentalities of the forgoing criminal violations, which relate to the
knowing transportation, receipt, possession and distribution of child
pornography. I request authority to search the entire premises, including the
residential dwelling, vehicles or boats located on: the property, or any
outbuildings such as detached garage, sheds or barns. In addition, I request

authority to search any computer and computer media located therein where

the items specified in Attachment B may be found, and to seize all items listed

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in Attachment B as instrumentalities, fruits, and evidence of crime. |

4. The statements in this Affidavit are based in part on information
provided by FBI undercover employees, other law enforcement entities and on
my investigation of this matter. Since this Affidavit is being submitted for the
limited purpose of securing a search warrant, I have not included each and
every fact known to me concerning this investigation. I have set forth only the
facts that I believe are necessary to establish probable cause to believe that
evidence, fruits, and instrumentalities of the violation of 18 US.C. § 2251 and

2252 are presently located at 10450 Alabaster Drive, Davidson, NC 28036.
“— ; °

STATUTORY AUTHORITY

 

5. This investigation concerns alleged violations of 18 U.S.C. § 2251

relating to material involved the sexual exploitation of minors.

a. 18 U.S.C. § 2251(a) makes it a crime for any person who employs,
uses, persuades, induces, entices, or coerces any minor to engage
in, or who has a minor assist any other person. to engage in, or who '

transports any minor in or affecting interstate of foreign

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commerce, or in any Territory or Possession of the United States,
with the intent that such minor engage in, any sexually explicit
conduct for the purpose of producing any visual depiction of such
conduct for the purpose of transmitting a live visual depiction of

such conduct. a

6. This investigation concerns alleged violations of 18 U.S.C. § 2252A

relating to material involving the sexual exploitation of minors.

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a. 18 U.S.C. § 2252A(a)(2)(A) prohibits a person from knowingly
receiving, distributing or conspiring to receive or distribute any
child pornography or any material that contains child
pornography, as defined in 18 U.S.C. § 2256(8), that has heen
mailed, or using any means or facility of interstate or foreign
commerce shipped or transported in or affecting interstate or
foreign commerce by any means, including by computer.

b. 18.U.8.C. § 2252A(a)(5)(B) prohibits a person from knowingly’
possessing or knowingly accessing with intent to .view, or

attempting to do so, any material that contains an image of child

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pornography, as defined in 18 U.S.C. § 2256(8), that has been
mailed, or shipped or transported using any means or facility of

interstate or foreign commerce or In or affecting interstate or
foreign commerce by any means, including by computer, or that
was produced using materials that have been mailed or shipped or
transported in. or affecting interstate or foreign commerce by any
means, including by computer.

DEFINITIONS

The following definitions apply to this Affidavit and Attachment

a.’ “Child Erotica” means materials or items that are sexually |
arousing to persons having a sexual interest in minors but that are
not necessarily, in and of themselves, obscene or that do not

necessarily depict minors in sexually explicit poses or positions.

“Child Pornography” includes any visual depiction of sexually
explicit conduct where (a) the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct;

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(b) the visual depiction was a digital image, computer image, or
computer-generated image that is, or is indistinguishable from,
that of a minor engaged in sexually explicit conduct; or (c) the
visual depiction has been created, adapted, or modified to appear
that an identifiable minor is engaged in sexually explicit conduct.
See 18 U.S.C. § 2256(8).

C. “Computer” refers to “an -electronic, magnetic, optical,
electrochemical, or other high speed data processing device
performing logical or storage functions, and includes any data
storage facility or communications facility directly related to or

operating in conjunction with such device.” See 18 U.S.C. §

1030(e)(1). |

d. “Computer hardware” consists of all equipment that can receive,
capture, collect, analyze, create, display, convert, store, conceal, or
transmit electronic, magnetic, or similar computer impulses or
data. Computer hardware includes any data-processing devices

(including, but not limited to, central processing units, internal

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and peripheral storage devices such as fixed disks, external hard
drives, floppy disk drives and diskettes, and other memory storage
devices); peripheral input/output devices (including, but not
limited to, keyboards, printers, video display monitors, and related
communications devices such as cables and. connections); as well
as any devices, mechanisms, or parts that can be used to restrict
access to computer hardware (including, but not limited to,

physical keys and locks).

“Computer passwords ‘and data security devices” consist of
information or items designed to restrict access to or hide computer:
software, documentation, or data. Data security devices may
consist of hardware, software, or other programming code. A

- password (a string of alpha-numeric characters) usually operates
what might be termed a digital key to “unlock” particular data
‘security devices. Data security hardware may include encryption

. devices, chips, and circuit boards. Data security software of digital

code may include programming code that creates “test” keys or

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“hot” keys, which perform certain pre-set security functions when

touched. Data security software or code may also encrypt,

compress, hide, or “booby-trap” protected data to make it

inaccessible or unusable, as well'as reverse the progress to restore
it.

f. “Computer-related documentation” consists of written, recorded,
printed, or electronically stored material that explains or

illustrates how to configure or use computer hardware, computer

software, or other related items.

g. “Computer software” is digital information that can be interpreted.
by a computer and any of its related components to direct the way
it works. Computer software is stored in electronic, magnetic, or
other digital form. It commonly includes programs to run

operating systems, applications, and. utilities.

h. IP Address: The Internet Protocol address (or simply “IP address”)

is a unique numeric address used by computers on the Internet.

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. An IP address looks like a series of four numbers, each in the range
0-255, separated by periods (e.g., 121.56.97.178). Every computer
attached to the Internet must be assigned an JP address so that
Internet traffic sent from and directed to that computer may be
directed properly from its source to its destination. Most Internet
service providers control a range of IP addresses. Some computers |
have static—that is, long-term—IP addresses, while other
computers have dynamic—that is, frequently changed—IP

addresses.
|

“Minor” means any person under the age of 18 years. See 18 U.S.C.

§ 2256(1).

“Sexually explicit conduct” refers to actual or simulated (a) sexual
intercourse (including genital-genital, oral-genital, or oral-anal),
whether between persons of the same or opposite sex; (b) bestiality;
(c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious
exhibition of the genitals or pubic areas of any person. See 18

U.S.C. § 2256(2)(A).

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k. “Visual depictions” include undeveloped film and videotape, and
data stored on computer disk or by electronic means, which is

capable of conversion into a visual image. See 18 U.S.C. § 2256(5).

The terms “records,” “documents,” and “materials” include all
information recorded in any form, visual or‘ aural, and by any
means, whether in handmade form (including, but not limited to,
- writings, drawings, painting), photographic form (including, ‘but
not limited to, microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, photocopies); mechanical form -
(including, but not limited to, phonograph records, printing,
typing); or electrical, electronic or magnetic form Gracluding, but
not limited to, tape recordings, cassettes, compact discs, electronic
or magnetic storage devices such as floppy diskettes, hard disks,
CD-ROMs, digital video disks (DVDs), Personal Digital Assistants
(PDAs), Multi Media Cards (MMCs), memory sticks, optical disks,
printer buffers, smart cards, memory calculators, electronic

dialers, Bernoulli drives, or electronic notebooks, as well as digital

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data files and printouts or readouts from any magnetic, electrical

or electronic storage device).

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BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

8. Based: on my knowledge, training, and experience in child
exploitation and child pornography investigations, and the experience and
training of other law enforcement officers with whom I have had discussions,
computers, computer technology, and the Internet have revolutionized the

manner in which child pornography is produced and distributed.

9. Computers basically serve four functions in connection with child

pornography: production, communication, distribution, and storage.

10. | Child pornographers can transpose photographic images-from a
camera into a computer-readable format with a scanner. With digital cameras,
the images can be transferred directly onto a computer. A modem allows any |
computer to connect to another computer through the use of telephone, cable,
or wireless connection. Through the Internet, electronic contact can be made

to literally millions of computers around the world.

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lL. The computer's ability to store images in digital form makes the
computer itself an ideal repository for child pornography. The size of the
electronic storage media (commonly referred to as the hard drive) used in home
computers has grown tremendously within the last several years. These drives

can, store thousands of images at very high resolution.

12. The Internet affords collectors of child pornography several
. different venues for obtaining, viewing and trading child pornography ina

se

relatively secure and anonymous fashion.

13. Collectors and distributors of child pornography also use online
resources to retrieve and store child pornography, including services offered by
Internet Portals such as Yahoo! and Hotmail, among others. The online
services allow a user to set up an account with a remote computing service that °
provides e-mail services as well as electronic storage of computer files in any,
variety of formats. A user can set up an online storage account from any
computer with access to the Internet. Evidence of such online storage of child

pornography is often found on the user’s computer. Even in cases where online

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storage is used, however, evidence of child pornography can be found on the

user's computer in most cases.

14. As with most digital technology, communications made from a
computer are often saved or stored on that computer. Storing this information |
cari be intentional, for example, by saving ani e-mail as a file on the computer
or saving the location of one’s favorite websites in “bookmarked” files. Digital
information can also be retained unintentionally. Traces of the path of an
electronic communication may be automatically stored in many places, such as
temporary files or ISP client software, among others. In addition to electronic
- communications, a computer user’s Internet activities generally leave traces in
a computer’s web cache and Internet history files. A forensic examiner often
can recover evidence that shows whether a computer contains peer-to-peer
software, when the computer was sharing files, and some of the files that were
uploaded or downloaded. Such information is often maintained indefinitely

until overwritten by other data.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

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15. Based on my knowledge, training, and experience, I know that
computer storage devices, such asa computer hard drive, can store information *
for long periods of time. Even when a user deletes information from a device,
it can sometimes be recovered with forensics tools. Similarly, things that have .
been viewed via the Internet are typically stored for some period of time on the

device. This information can sometimes be recovered with forensics tools.

16. Searches and seizures of evidence from computers commonly
require agents to download or copy information from the computers and their
components, or seize most or all computer items (computer hardware,
computer software, and computer related documentation) to be processed later
by a qualified computer expert in a laboratory or other controlled environment.

This is almost always true because of the following two reasons:

17. Computer storage devices (like hard disks, diskettes, tapes, laser
_ disks, magneto opticals, and others) can store the equivalent of thousands of
pages of information. Especially when the user wants to conceal criminal

evidence, he or she often stores it in random order with deceptive file names.

This requires searching authorities to examine all the stored data that is

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available in order to determine whether it is included in the warrant that
authorizes the search. This sorting process can take days or weeks, depending .

on the volume of data stored, and is generally difficult to accomplish on-site.

| 18.. Searching computer systems for criminal evidence is a highly
technical process requiring expert skill and a properly controlled environment.
The vast array of computer hardware and software available requires even
computer experts to specialize in some systems and applications, so it is
difficult to know before a search which expert should analyze the system and
its data. The search of a computer system is an exacting scientific procedure
that is designed to protect the integrity of the evidence and to recover even
hidden, erased, deleted, compressed, password-protected, or encrypted files.
Since computer evidence is extremely vulnerable to tampering or destruction
(which may be caused by malicious code or normal activities of an operating

system), the controlled environment of a laboratory is essential to its complete

and accurate analysis.

19. Inorder to fully retrieve data from a computer system, the analyst’

needs all magnetic storage devices as well as the central processing unit (CPU).

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In cases involving child pornography where the evidence consists partly of
eraphics files, the monitor(s) may be essential for a thorough and efficient
. search due to software and hardware configuration issues. In addition, the
analyst needs all the system software (operating systems or interfaces, and
hardware drivers) and any applications software which may have been used to

create the data (whether stored on hard drives or on external media).

20. Furthermore, because there is probable cause'to believe that the
computer and its storage devices are all instrumentalities of crimes, within the

meaning of 18 U.S.C. §§ 2251 through 2256, they should all be seized as such.

PROBABLE CAUSE

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21. On March 4, 2020, an Online Covert Employee (OCE) was acting

in an undercover capacity and entered a private parent KIK group. KIK is an
instant messaging application for mobile devices. Upon: entering the group, an
~ automatic rules message appeared on the screen stating the following: “Age,
Sex, Location &children’s ages upon entry; must have a child or step child to

‘be part of the group; This is a group for open minded parents / if your not sure

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what that means you are probably in the wrong group; Ask before you PM
-anyone & be respectful (any issues report to the owner or an admin); Lastly
you will need to verify with the Owner or an admin (sit tight and someone will

contact you soon and let you know how to verify).”

22. The OCE identified himself as a 33 year-old dad with a daughter
in the United States. An administrator of the group, “bluedayguys,” sent a
message to the OCE asking him to verify. The OCE contacted “pluedayguys”
in a private KIK chat and informed “bluedayguys” that he was the father of an ©
8-year-old girl. “bluedayguys” stated “Just need a live pic and proof youre a
parent.” The OCE sent “bluedayguys” an image of his purported daughter and
an image of a pair of children’s panties. “Bluedayguys,” responded.to the OCE,

“very nice,” and “you active with her.” )

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23. The OCE told “bluedayguys” the OCE was sexually active with his
purported daughter while she sleeps. “Bluedayguys” informed the OCE that
his girlfriend has a 6 year-old son that “bluedayguys” is sexually active with.

“Bluedayguys” told the OCE that he touches and sucks the child. During the

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course of the chat, “bluedayguys” sent the following pictures of the 6 year-old

boy:

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i. Picture 1: A clothed.image of a prepubescent boy wearing a red

shirt and red shorts. His face is visible in the photo.

_ Picture 2: An image of a person pulling up a solid gray fleece-type

blanket and exposing what appears to be a prepubescent child’
sleeping. The focus of the image is on his crotch and he is wearing

shorts or underwear. A cat can be seen lying next to the child.

. Picture 3: An image of an adult hand holding the wrist of a

prepubescent child. The child’s hand is touching the adult’s bare

penis.

. Picture 4; An image of an adult placing his penis on a prepubescent

boy’s face while the child is sleeping. The same blanket ‘as

described in picture #2 is visible in this image.

. Picture 5: An image of what appears to be a prepubescent child.

This child is wearing some type of stretch boxers or shorts.

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24. ‘During the course of the chat, “bluedayguys’ told the OCE that his
girlfriend has no clue “bluedayguys” abuses her son. “bluedayguys” stated that
-he works in construction and resides in North Carolina. During the course of
the chat the OCE asked “bluedayguys” if “bluedayguys” could take a live
picturé of. the blanket and cat that ‘was seen ‘in the images sent by |
“bluedayguys” for the purpose of verifying that the images were produced by
“bluedayguys.” “bluedayguys” stated that he was currently at work but would

send the requested images later that evening upon returning home from work. -

25. On March 4, 2020, at approximately 7:05pm. EST “bluedayguys”
sent the OCE a live image of a blanket and a live image of a cat. The cat
appears to be the same cat as seen in the photo described above. The blanket

appears to be similar as the blanket described in a separate photo.

- 26. On March 5, 2020 an emergency disclosure request (EDR) was sent °
to Kik for subscriber identification information and IP access logs associated
with this username. Kik's EDR response provided a display name of Blue Day,
unconfirmed email address of bluedayguy@gmail.com, and TP access logs from

approximately 2/4/2020 - 3/5/2020. A review of ‘the IP logs yielded a

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combination of Spectrum (Charter Communications) and Verizon Wireless IPs.

The IP address 65.184.68.215 was found to be associated with the Kik account

“bluedayguys” .

27., On March 5, 2020 an EDR was submitted to Charter
Communications/Spectrum for subscriber information for IP address
65.184.68.215 on 3/5/2020 — at 10:24:35 UTC. Charter
Communications/Spectrum provided a verbal response that the subscriber of

this IP address was Margaret Wojciechowicz, 10450 Alabaster Drive,

Davidson, NC 28036,

28. A review of open source information and North Carolina
Department of Motor Vehicle. (DMV) records indicated current residents of
10450 Alabaster Drive, Davidson, NC 28036 are Margaret Wojciechowicz and
Joseph M. Schwehm. A review of the DMV photo of Margaret Wojciechowiez
| was consistent to the photograph the subject sent the OCE of his supposed
girlfriend. A review of DMV records indicated that Joseph M. Schwehm,
birthdate 09/15/1990, is the registered owner of a 2010 Toyota Corolla with the |

license plate number of TPT6899.

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29. .A review’ of Margaret Wojciechowicz’s open source information
indicated she was previously married to and lived at the 10450 Alabaster Drive
address with Robert Wojciechowicz. A review of Robert Wojciechowicz's social
media profile on Facebook indicated Robert Wojciechowicz is the father of the
victim child identified in the photographs, and that the victim child résides at

‘

10450 Alabaster Drive.
CONCLUSION

30. Based on the aforementioned factual information, your Affiant
respectfully submits that there is probable cause to believe that an individual
at the residence described above is involved in the production, transportation, .
receipt, possession and distribution of child pornography. Your Affiant
respectfully submits that there is probable cause to believe that an individual
"in the residence described above has violated 18 U.S.C. §§ 2251, and 18 U.S.C.
§§ 2252A. Additionally, there is probable cause to believe that evidence of
criminal offenses, namely, violations of 18 U.S.C. §§ 2251(a), and 18 U.S.C. §§

2252A(a)(2)(A) and (a)(5)(B), is ‘located in the residence described in

Attachment A, and this evidence, listed in Attachment B to this Affidavit, °

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which is incorporated herein by reference, is contraband, the fruits of crime, or °
things otherwise criminally possessed, or property which is or has been used

as the means of committing the foregoing offenses.

31. Your Affiant, therefore, respectfully requests that the attached
warrant be issued authorizing the search and seizure of the items listed in ,

' Attachment B.
REQUEST FOR SEALING

32. Itis respectfully requested that this Court issue an order sealing,
until further order of the Court, all papers submitted in support of ‘this |
application, including the application and search warrant. I believe that
sealing this document is necessary because the items and information to be
seized are relevant to an ongoing investigation into the criminal organizations
as not all of the targets of this investigation will be searched at this time.
Based upon my training and experience, I have learned that online criminals

actively search for criminal affidavits and search warrants via the Internet,

and disseminate them to other online criminals as they. deem appropriate, 1.€.,

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post them publicly online through the carding forums. Premature disclosure
of the contents of this affidavit and related documents may have a significant
and negative impact on the continuing investigation and may severely

jeopardize its effectiveness.

Respectfully submitted, be, c£'%4—
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Marisa Brown
Special Agent

ie L Federal Bureau of Investigation
A Mested sworn to before me

on March 06, 2020 teleplerar atte. e-rn[ bueasressee

 

 

UNITED STATES MAGISTRATE JUDGE

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